Case: 4:24-cv-00720-MTS       Doc. #: 33    Filed: 12/31/24    Page: 1 of 4 PageID #: 182




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

HOECHST FARMS, INC.,                         )
                                             )
            Plaintiff,                       )
                                             )
      vs.                                    )          Case No. 4:24-cv-720-MTS
                                             )
MO COLD LOGISTICS, LLC,                      )
                                             )
            Defendant.                       )

                           MEMORANDUM AND ORDER

       This matter is before the Court on Defendant’s Motion for Leave to Amend its

Answer and Counterclaim. Doc. [28]. Plaintiff opposes the motion. For the reasons that

follow, the Court will grant Defendant’s motion and order it to promptly file its Amended

Answer.

                                            *

      This action arises out of an alleged breach of contract concerning the purchase of

rights related to three underground mines. Doc. [4]. Defendant filed its original Answer

and Counterclaim on June 14, 2024. Doc. [14]. At that time, Defendant admitted that it

entered the contract at issue, and it did not dispute the contract’s validity. In addition,

Defendant asserted counterclaims against Plaintiff for breach of contract and unjust

enrichment. The parties subsequently participated in a status conference pursuant to

Federal Rule of Civil Procedure 16, and the Court thereafter entered its Case Management

Order on August 19, 2024. Doc. [26]. Roughly three months later, Defendant moved to

amend its responsive pleading. Doc. [28]. The operative case deadlines give the parties
Case: 4:24-cv-00720-MTS       Doc. #: 33     Filed: 12/31/24    Page: 2 of 4 PageID #: 183




until May 30, 2025, to amend the pleadings. Id. at 1. Additionally, discovery closes on

July 31, 2025, dispositive motions are due on August 09, 2025, and trial is set for February

09, 2026. Id.

       Defendant now moves to amend because it contests the validity of the parties’

contract. Through its amendment, Defendant seeks to alter its prior admissions to reflect

this change of position, add corresponding affirmative defenses, and assert an additional

counterclaim for declaratory judgment. Doc. [28-1]. Plaintiff opposes the amendment

because it is “not based upon newly discovered facts or evidence and is therefore unduly

delayed.” Doc. [29] at 2. For Plaintiff, “[n]othing prevented Defendant from . . . raising

the proposed defenses or additional counterclaim in its initial” responsive pleading. Id.

Further, Plaintiff argues that it will be unduly prejudiced by the amendment because

“Defendant’s position that the contract is unenforceable injects a new aspect into the case

which will necessarily expand the scope of discovery.” Id. at 5. Plaintiff states that

Defendant’s amended answer constitutes “an about face in strategy” that was “not

originally contemplated by the written discovery that has been conducted thus far.” Id.

       As applicable here, “a party may amend its pleading only with the opposing party’s

written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2). Moreover, “[t]he court

should freely give leave when justice so requires.” Id. The Federal Rules of Civil

Procedure thus state a “liberal amendment policy,” and “a district court’s denial of leave

to amend pleadings is appropriate only in those limited circumstances in which undue

delay, bad faith on the part of the moving [party], futility of the amendment, or unfair

prejudice to the non-moving party can be demonstrated.” Roberson v. Hayti Police Dept.,

                                           -2-
Case: 4:24-cv-00720-MTS       Doc. #: 33     Filed: 12/31/24    Page: 3 of 4 PageID #: 184




241 F.3d 992, 995 (8th Cir. 2001) (citing Foman v. Davis, 371 U.S. 178, 182 (1962)).

Additionally, “[a]ny prejudice to the nonmovant must be weighed against the prejudice to

the moving party by not allowing the amendment.” Bell v. Allstate Life Ins. Co., 160 F.3d

452, 454 (1998) (citation omitted).

       The Court agrees with Plaintiff that Defendant’s desired amendment will have a

significant impact on this litigation, given that Defendant pursues new legal theories as

well as an additional counterclaim. The Court disagrees, however, that these significant

changes demonstrate undue delay on the part of Defendant or that they will unfairly

prejudice Plaintiff because, simply, this matter is still relatively young. Even under the

current scheduling order, the parties have over six months to exchange discovery and

fourteen months before they must present their arguments at trial. * True, courts have

denied parties leave to amend their pleadings when the amendments “involve new theories

of recovery and impose additional discovery requirements.” Bell, 160 F.3d at 454. But

such denials often occur when the amendments are sought relatively late in the

proceedings. See, e.g., id. at 454–55 (affirming denial of an amendment sought after the

close of discovery and five weeks before trial); Dover Elevator Co. v. Ark. State Univ., 64

F.3d 442, 448 (8th Cir. 1995) (affirming denial where amendment was sought less than a

month before trial and a week before the close of discovery); Kozlov v. Associated

Wholesale Grocers, Inc., 818 F.3d 380, 394 (8th Cir. 2016) (affirming denial of an

amendment sought two months before trial).


*
  As ever, the Court is willing to modify the case schedule upon a motion demonstrating good
cause for a modification. See Fed. R. Civ. P. 16(b)(4).

                                           -3-
Case: 4:24-cv-00720-MTS       Doc. #: 33     Filed: 12/31/24    Page: 4 of 4 PageID #: 185




       Lastly, given the amount of time that remains for the parties to develop their

respective cases, the Court finds that the hardship to Defendant—if it were not allowed to

amend and, thereby, challenge the validity of a contract under which it might be held

liable—outweighs any prejudice to Plaintiff at this early stage. See Buder v. Merrill Lynch,

Pierce, Fenner & Smith, Inc., 644 F.2d 690, 694–95 (8th Cir. 1981) (balancing hardships

and finding in favor of the party seeking leave to amend).

       Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion for Leave to Amend its

Answer and Counterclaim, Doc. [28], is GRANTED. Defendant shall promptly file its

First Amended Answer and Counterclaim.

       IT IS FURTHER ORDERED that Plaintiff shall have the prescribed time to file

any response.

       Dated this 31st day of December 2024.



                                           MATTHEW T. SCHELP
                                           UNITED STATES DISTRICT JUDGE




                                           -4-
